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                    EXHIBIT B
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          SUPREME                 COURT              OF     THE        STATE                  OF        NEW YORK
          COUNTY                OF      SUFFOLK
                                                                                                                         X
          JUSTIN             MATTERA,


                                                                   Plaintiff,                                                                                 Index           No.


                          -against-                                                                                                                           SUMMONS
          WESTHAMPTON                             BEACH            SCHOOL                      DISTRICT;
          SUZANNE                 MENSCH,                 as President                  of    the       Board                of                               The           basis      for

          Education             of the      Westhampton                     Beach             School               District;                                  the         venue

          CAROLYN                     PROBST,           as Superintendent                               of the                                                is the          issue      arose      in

          Westhampton                   Beach         School        District;                CHRISTOPHER                                                          Suffolk           County.

          HERR,            as Principal              of the      Westhampton                         Beach               High

          School;          CHARISE               MILLER,               as Principal                      of    the
          Westhampton                   Beach         Middle         School,             MARY                  ANN
          AMBROSINI,                    as the        Director         of       Pupil          Personnel                     for      the
          Westhampton                   Beach         School        District,                and        ROBERT
          FINN,           as Director           of   Guidance              and       Data            Management

          For       the    Westhampton                  Beach        School              District,


                                                                   Defendants.
                                                                                                                             X


          TO THE             ABOVE-NAMED                         DEFENDANTS:


                          YOU         ARE       HEREBY               SUMMONED                                 and        required            to      appear           at the        SUPREME                COURT,
          COUNTY                OF      SUFFOLK,                 ONE            COURT                   STREET,                     RIVERHEAD,                            NEW           YORK             11901,        by
          serving          an answer        to the      annexed           Complaint                     upon         Plaintiff's              Attorney,                  at the     address       stated      below,
          or    if there       is no    attorney,           upon     the        Plaintiff,              at the           address            stated       above,             within       the     time      provided

          by       law     as noted       below,        upon       your         failure            to    answer,                  judgment             will         be      taken      against      you       for     the
          relief         demanded         in the      complaint,            together                with           the    costs           of this      action.


          Dated:          Westhampton                Beach,        New       York
                          December          19,      2023



                                                                                                        Yours,               etc.


                                                                                                                                                                    .-
                                                                                                        KILLO                                ¾W               .


                                                                                                        x
                                                                                                              y:                   tial     Kil                   , Esci.

                                                                                                        Attorney                   for    Plaintiff
                                                                                                         132-13               Main          Street
                                                                                                         Westhampton                         Beach,           New           York       11978

                                                                                                         (631)           878-8757




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          NOTE:The                law           provides             that:

                          (a)    If this         summons                is served             by     its delivery              to you       personally            within       the       County          of Suffolk
          you     must          answer            within        20       days         after        such      service;          or

                          (b)    If      this      summons                   is    served          by     delivery         to       any     person        other       than         you        personally,            or     is
          served          outside           the        County            of        Suffolk           or    by     publication,               or    by     any        means          other         than        personal

          delivery          to    you           within         the      County              of     Suffolk        you      are       allowed         30     days       after        the       proof      of     service

          thereof         is filed         with          the    Clerk             of this        Court       within       which            to answer.

                          (c)     You            are     required             to file         a copy         of   your     answer            together        with          proof         of    service        with        the
          clerk      of the           district         which          the         action         is brought           within         ten    (10)     days       of   service         of the           answer.


          DEFENDANTS'
                                                   ADDRESSES
          340      Mill         Road
          Westhampton                        Beach,            New           Vork           11978




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          SUPREME               COURT               OF        THE         STATE                   OF      NEW YORK
          COUNTY              OF       SUFFOLK
                                                                                                                        X
          JUSTIN           MATTERA,


                                                                      Plaintiff,                                                                           Index       No.


                        -against-

          WESTHAMPTON                           BEACH                 SCHOOL                       DISTRICT;
          SUZANNE               MENSCH,                    as President                    of     the     Board             of

          Education           of the        Westhampton                        Beach              School          District;
          CAROLYN                   PROBST,                as Superintendent                             of     the

          Westhampton                  Beach         School            District;                CHRISTOPHER

          HERR,          as Principal               of the          Westhampton                          Beach          High

          School;        CHARISE                MILLER,                   as Principal                    of the

          Westhampton                  Beach         Middle              School,            MARY                ANN
          AMBROSINI,                   as the        Director             of       Pupil          Personnel                 for     the
          Westhampton                  Beach         School            District,                and      ROBERT
          FINN,         as Director            of    Guidance                and         Data            Management

          For     the    Westhampton                       Beach         School             District,


                                                                      Defendants.
                                                                                                                            X


                                                                                            Verified             Complaint


          1.            My    name          is Justin         Mattera,             and          I am the         named             plaintiff          herein.


          2.            I am 44        years        old.


          3.            My    present          address           is 3 Woodcock                          Lane,         Remsenburg,                    NY    11960.


          4.            As   a homeowner,                     I pay      federal,               state,     and        town         (local)      taxes.


          5.            My     local    taxes         are      largely         utilized               to pay      for       the     educational             services         provided        by     my


          local     school      district.


          6.            My     local     school            district       (Remsenburg-Speonk                                      Union        Free       School       District)        is vested        in   an


          educational           contract        with          the     Westhampton                        Beach          School            District        (Westhampton),                 wherein


          Westhampton                provides           for     the                                              education                of   Remsenburg's               residents        grades        7-
                                                                         post-elementary


          12.




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          7.            In    2001,       I received             a Bachelor's              of    Science           (BS)        degree        in Psychology                        from       Towson



          University.


          8.            In    2008,       I received             a Master's             degree        (MA)          in Special          Education                 from            Dowling           College.


                                                                                                                   certification"
          9.            In    February            2023,         I received            a "specialized                                           from         the      New            York         State


                                                                                                                                        education"                          mathematics.1
          Department             of     Education,              which        enables            me to teach            "special                                      in



          10.           Since         2004,       I have        been       employed              as a teacher             within        Westhampton.



          11.           Throughout                the     duration          of    my employment,                       I have       scored        well          on        all    of my       performance



          assessments.


          12.           During           the     approximate               initial       5 years        of    my employment                     within            Westhampton,                        I taught


          "Regents"                                                                                                                                      9tl'                   10ti'
                               math        (algebra)            within       a "special            class",         composed             of    both                and                    grade      students.


          13.           A special              class     is a class         entirely          composed              of disabled              students.


                                                                                                                                                                  "Regents"
          14.           Thereafter,              and      for    approximately                  the    last       14 years,         I have       taught                                      math


                                                                                                                                     (ICT)"
          (algebra           and/or       geometry)              within          an "integrated               co-teaching                             setting,              wherein           I have


                                      classes'                            education"
          served        as the                          "special                                 teacher.


          15.           An ICT            class         is composed              of    both      disabled          and     non-disabled                students                  and      is largely


                                                                                                                                                             (LRE)"
          designed            to effectuate              the    most       "least       restrictive           learning           environment                                       for     disabled


                                                                                                                                                                (IDEA).2
          students           in accord           with     the      Individuals            With        Disabilities             Education              Act


                                                                                                                                    plans"
           16.          My       disabled           students           alternatively             have        either       "504                    or "Individualized                             Education


          Plans      (IEPs)".




          1                for this certification
            Eligibility                           inherently vests after 3 years of service.
          2 LRE
                     is a doctrine that seeks to integrate disabled students with non-disabled                                                  students          to the maximum                   extent
          appropriate.         An ICT           class setting is an educational                   placement           option     profiled      along        the "continuum                  of educational
          placement          options".         (See: 8 NYCRR      200.6).



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          17.             504      plans         are    designed              to afford           disabled        students             with      educational               accommodations                        and



          modifications                   that     help      such      students             effectively           cope        with       the     effects         of their         respective



          disabilities.



          18.             Similarly,             IEPs        are     designed             to afford          disabled          students           with         educational             plans         and



          placements                designed            to address              their      unique         and     individualized                  needs.



          19.             Under           the    (IDEA),             as well        as under           Section          504      of the        Rehabilitation                  Act       of    1973        (504),

                                                                                                                                                         ambitious"
          disabled             students          are      entitled         to the        provision           of   an "appropriately                                               free      public



          education              (FAPE).



          20.             In     approximately                     2008,       Westhampton                   began       implementing                      an accelerated                  math       program.


                                                                                                                                                             "Regents"
          21.             Specifically,                in this        regard,           Westhampton                   began      teaching            its                           foundational


                                                      8th                                                                                                9th
          algebra          class        at the              grade          level,       as opposed            to the        conventional                        grade        level.


          22.             By      implementing                     an accelerated                 math       program,            school          districts          are    able       to have         their


                                                       "Regents"
          students             finish      their                               graduating             requirements                   early,    which            in turn       simultaneously

                                                                                                                                      classes"
          enables          such         students            to take         "advanced              placement            (AP)                          during         their        latter      high         school


          years.


                                                                                                                                                  "Regents"
          23.             School           districts          are     assessed            favorably           predicated               upon                               graduation              rates,        as


          well      as school              district         enrollment              rates     within         AP classes.


          24.             During           the     2021-2022                 and        2022-2023            academic            years,          New         York         State       was


                                                                                                                                                                                                                "50"
          implementing                    a "Covid             Exemption",                  which         provided            that      any    student           who       scored           at least        a


          on     a "Regents                Exam",            but     otherwise              was      receiving          a "passing               grade",         could        nevertheless                 earn


                                Exam"                                                                                                                                                    approvals.3
          "Regents                               credit,       provided             they      procured            certain        tangential              administrative




          3 The
                    conventional          passing Regents Exam grade is a 65. This Covid Exemption        provided   a theoretical    incentive for
          the school           district to seek the artificial inflation of grades, which of course, cast Westhampton       in a better light. Upon
           information            and belief, the students who Westhampton        afforded the Covid Exemption    to actually never procured      the
          requisite        administrative              approvals           that are supposed              to be a part of the exemption                      process.



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                                                                     Mensch"                                          "President"
          25.           Since      2012,        "Suzanne                                has      been         the                                 of        Westhampton's                      "Board           of



          Education".


                                                                     Probst"                                       "Superintendent"
          26.           Since      2021,        "Carolyn                              has     been         the                                                   of     Westhampton.


                                                                             Herr"                                    "Principal"
          27.           Since       2008,       "Christopher                            has      been         the                                 of        Westhampton's                      high      school.


                                                                     Miller"                                        "Principal"
          28.           Since       2004,       "Charisse                             has      been         the                              of    Westhampton's                             middle          school.


                                                                           Ambrosini"                                                                                            Personnel"
          29.           Since       2010,       "Mary          Ann                                   has     been       the    "Director                    of        Pupil                            for


          Westhampton.4


                                                                   Finn"                                                                                                                 Management"
          30.           Since       2008,       "Robert                        has     been       the       "Director             of   Guidance                        and     Data


          for    Westhampton.


          31.           During        the      academic            year       of 2021-2022,                  a colleague               of    mine,                namely           Vanessa            Tucker,


          told     me that        Westhampton                  had     begun          pulling         certain          students             out        of     her        class,       and     alternatively


                                                                                                                                                                                         class.5
          began        teaching        them       within           a segregated               setting,           namely        within             a newly                 formed


                                                                                                                                                                                                       9*
          32.           Notably,         at such           time,     Vanessa            was      teaching             an ICT           math            (algebra)                class       at the            grade



          level,      wherein        she       was    co-teaching               the     class        with         another         colleague                  of        mine,       namely          Cindy

          Griffin.6


                                                                                                           classes'
          33.           Equally        notable,            Vanessa           served         as the                          general           education                       teacher,       while       Cindy

                                    classes'
          served        as the                       special         education           teacher.


          34.            The       students          who      were         pulled       out     of    Vanessa's               class     were                those         students           who      were


                               academically.7
          struggling




          4 Ms. Ambrosini
                              was not employed  by the district between approximately  2017-2019.
          5 The
                district's directive was conveyed   within a meeting called by Mr. Finn with Vanessa.                                                                            Also,   upon        information
          and belief, Mr. Finn met separately    with Cindy Griffin    and conveyed                                               the same directive.
          6 9th
                grade algebra was not on the advanced math program        tract.
          7 Upon                and belief, such;students
                    information                            were failing.




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          35.            As     stated,        these      students           began            receiving              their      instruction                within        a segregated               class,


          wherein           Cindy         was        assigned        to teach            such          students             exclusively.



          36.            Vanessa           told       me that        both         she     and        Cindy           felt     very       uncomfortable                     and      nervous          about         this



          dynamic             because          the     creation           of the        class        was         violative           of the      educational                 placements              that     were


                                                      students'                                                                plans.8
          profiled          within        such                            respective             educational



          37.            Moreover,              Vanessa            told     me that             she       and       Cindy        felt      additionally                 uncomfortable                 and



          nervous           about       this      dynamic           because             the     teaching                and     grading          procedures                 being        implemented



          within       this     segregated              class      were       instructed                  to be modified.


          38.            Specifically,                in this      regard,         the        segregated                students          began            receiving            less     rigorous



          instruction,            and      their       grades       and      passing             levels           were        commensurately                         artificially         inflated.



          39.            In    light      of the       foregoing,            Vanessa                 told        me that        she       expressed              her      concerns          to Mr.          Finn,


                                                                                                                                                      Management".9
          who        served          as Westhampton's                      "Director              of      Guidance              and       Data


          40.            Vanessa           told       me that        Mr.      Finn         made             it clear          to her      that       the     class       bi-furcation,              segregation,


          modified            instructional              rigor      and      artificial              grade         inflation            strategy           was       how       Westhampton                   had


          decided           to go      about         addressing             the    academic                  struggles            of the         segregated                students.


          41.            It was        also       at this       approximate                   time        that      I learned           that     this       dynamic            was       occurring           within


          the      middle        school           as well.


          42.            Additionally,                 Westhampton                  apparently                    began         giving         the      middle           school        teacher(s)            who


                                                                                                                   extra-pay.10
          had      acquiesced             to participating                  in this           dynamic




          8
            A change in placement                     would       require     a "Prior          Written           Notice       (PWN)".
          9 Part of
                    Mr. Finn's job                   is to inform         the school           district
                                                                                                     regarding the types of data that is needed to best portray the
          school district in positive    light. As such, Mr.                              Finn serves in a corollary  administrative    capacity to implement    policies
          that best portray the school district favorably.                                 In this regard, Mr. Finn basically    serves as Westhampton's     "Public
          Relations"
                       officer.
           ¹°                   1/6*
              This process of         pay has been employed    by Westhampton    to control and manipulate    teachers. An analysis                                                                                       of
          the school district's   apportionment    of who it apportions extra payments to is illustrative  of the school district's
          nefarious         goals.     The high         school      class was an ICT                   class, so the school                district        already       had a built       in person         to teach
          the segregated             students.



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          43.            Vanessa                 told     me that         soon         after     her        conversation                   with       Mr.      Finn,         that         Ms.      Ambrosini               came



          to her       and         asked          her     if they        (Vanessa              and        Cindy)          had       everything               that      they         needed.



          44.            Vanessa                 then      expressed             her     concern             to Ms.            Ambrosini               that     the      segregation                   was


          inconsistent                   with      the     student's            IEP     directives,                but       Ms.      Ambrosini                simply          told        her      and      Cindy         to



          tell   the     parents                of the     segregated             students                that     they        were        receiving            "parallel             teaching".



          45.            The            class      bi-furcation,             segregation,                   modified               instructional               rigor         and      artificial          grade



          inflation              that     was      occurring             became           very         distressful                 to the     staff      members                within           the      "Math



          Department".


          46.            As         such,         the     Math         Department                staff       began            internally            expressing                our     concerns               amongst



          each        other.


          47.            Notably,                 I was         personally             concerned                 about         what        was      occurring               because             I knew         that    I


                                                                                        9"'
          would         be inheriting                     students        at the                grade            level       who       would          not     be adequately                      prepared         to       learn


          geometry.


          48.            Indeed,                successful             algebra         instruction                 and       mastery          is a bridge              to     successful               geometry


          instruction                   and     mastery.


          49.               Westhampton's                        Math        Department                   has      monthly              meetings,             wherein               the    staff       and


          administration                        discuss         the    general          status        of the            school         district's           overall         program.


          50.               At     this       time,       the     Math       Department's                        next        monthly          meeting            for     the        2021-2022                academic


          year        was         scheduled               sometime              in March             of     2022.


          51.               In     advance              of the        monthly          meeting,              the        Math        Department                 staff        internally             discussed           how


          we     would             be relaying               our       concerns          to the           administration.




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          52.             Indeed,            the     class-bifurcation,                        segregation,                        modified             instructional                rigor,        and         artificial



          grade         inflation           that     was          occurring             was       very           alarming                to all        of     us,    and     furthermore                   profiled              as a


          direct        affront          to the          integrity          of    our       profession                      at-large.



          53.             Moreover,                 we      all      recognized               that        what              was      occurring                was     violative             of     our     duties           as



          teachers,            as well         as our             obligations               owed           to our             students           and        the      taxpayers           of the           community.



          54.             As      such,        leading             into     the       monthly              meeting,                  I had       discussed              with      my peers                 that      we      should



          all    speak         and       express            our      concerns.


          55.             In     fact,       our     collective             concern              regarding                    the     artificial            grade       inflation             had        been        growing


          ever         since      Mr.       Herr         and       Mr.     Finn         had      previously                        conveyed             a directive            or request                 for     our


          students'                                                              Up"
                                grades         to be "Juiced                                a year         prior.


          56.             At      the     monthly              meeting,               the     school            district             officials          Mr.         Herr,      Mr.      Finn,            and      Kerry


          Pillittier           (Assistant            High            School           Principal)                all         appeared.


          57.             At      the                                of the                               Mr.         Herr          asked        the     staff       if we      had                  comments                    - but
                                          beginning                               meeting,                                                                                                  any


          unfortunately                  everyone                 remained              quiet.


          58.             As      such,        I alone             spoke         up     and      addressed                     the      concerns              that     everyone               had.


          59.             Mr.        Herr,         Mr.      Finn          and     Ms.        Pillittier               all     collectively               dismissed             my concerns.


          60.             As        such,      nothing               was     done           to address                  what         was      happening.


                                                                                                   "Union"
          61.             Accordingly,                     I approached                     my                                and       expressed              my concerns.


          62.             My        Union           representative                     stated        that        he would                  discuss            the     matter         with         Superintendent


          Probst.


          63.              Subsequently,                     my Union                  representative                        confirmed                 that       he did       meet         with         Superintendent


          Probst          to discuss               these       matters.




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          64.             In           any      event,          just     as I had            feared,         during          the     2022-2023                    academic               year,          I began         inheriting


                                                                                                                                          9d'
          students                who           were       foundationally                     unprepared               for       my              grade           geometry               class.



          65.                In        fact,     the       students           who        were         unprepared                 were       the         same          students           who         had      been



          segregated                     into       the    bifurcated             class         that     was        employing                   the     less        rigorous            instruction              and        artificial



          grade         inflation.


          66.                At        our       monthly               Math      Department                   meeting              held     in the             Fall      of     2022,         both       myself          and          my


          colleague/co-teacher                                   Tracy        DiMarco,                both      advised             Mr.         Herr,         Mr.       Finn,          and     Ms.       Pillittier           that       the



          students                that         we     were        inheriting             did      not      possess           the      prerequisite                    skills      to    succeed.



          67.                Mr.          Herr's           response             was      "work          your        magic".


          68.                During                 the    2022-2023                academic                year,      Westhampton                        nevertheless                   began           repeating              its



          strategy                of     bi-furcation,                  segregation,               modified             instructional                    rigor,         and       artificial            grade         inflation.



          69.                 Based              upon           my frustration,                  I expressed                 my concern                   to two           of    the     teachers            who         were


          involved                 in facilitating                     what     was          happening,               namely            Erika           Coiro           and      Anne          Gassner.


          70.                Specifically,                      in this       regard,           I asked        them          to confirm                  what          was       happening                and         how       the


                                                                                             justified.11
          artificial               grade            inflation           could       be


          71.                Erika              Coiro        responded                that      the     grading         policy            that        was        being          implemented                   was        not       in


          their        (her            or Anne's)                discretion,             but      rather       was       directed               by      the     administration,                      and      thus       that         my


          inquiries                should              directed          to Mr.          Finn.


          72.                In        light        of the        foregoing,             I again            went       to my          Union             to express               my      concerns,              but         I was



          told,        yet        again,            that     my claims                would           be hard          to prove             and         that      the      school            district       had        lots     of


          power.




           It Examples
                                        of the grade      inflation that was occurring       were manifest   in student's                                                  grades      rising from 67 and 68 within
          the first       2 quarters,               and then dramatically     increasing    to a 95 after the segregation                                                      occurred.    In addition, students who
                                                                                      "passing"
          were averaging                        below 65 nevertheless     received                grades.




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          73.             The       Math            Department's                   next       monthly              meeting           for      the       2022-2023               academic           year      was


          scheduled               to occur               in the         Spring        of   2023.



          74.             At      the     meeting,               I again          expressed                my concerns               regarding                 what       was      happening.



          75.             This       time           however,              my colleague,                    Tracy        DiMarco,                also       joined         me in raising             our


          concerns.12



          76.             Notably,                 the       same       school         district         officials            who     had        appeared               at the     prior    year's          annual


                               appeared              again          -                  Mr.                    Mr.       Finn       and       Ms.         Pillittier.
          meeting                                                       namely                     Herr,


          77.             Unfortunately,                       the       concerns            that     Tracy          and      I expressed                 were,        yet      again,     greeted         with         the


                                                                                                            prior.13
          same          degree           of    dismissiveness                     as the         year


          78.             Mr.       Herr           specifically              stated        that       he was           not     going         to tell         Ms.       Miller       how     to run        her


          building.


          79.             Ms.        Miller              was    the       Principal           of     Westhampton's                     middle                                wherein       the     class        bi-
                                                                                                                                                           school,


          furcation,              segregation,                  modified              instructional                 rigor,     and         artificial           grade        inflation      was       occurring


          since         the     2021-2002                    academic             year.


          80.             As       the        2022-2023                 academic             year       was        winding           down,              I received            an email       from         Mr.         Herr


          to come              see him             for       purposes            of reviewing                the      next     year's           (2023-2024)                   academic            schedule            and


          assignments.


          81.             At      the         meeting,            Mr.      Herr        stated        that     he had           something                 different           planned        for     me for            the


          next      academic                   year.


          82.                 Specifically,                  in this       regard,         Mr.       Herr,         stated      (in     a sneering                manner)           that    he was



          implementing                        "a    little      shake-up".




          12              would          also go on to be retaliated
                Tracy                                                                      against       in similar fashion to myself.
          13                                                                                                        "Regents"
                Incredulously,         Tracy was also removed     from                                teaching a              class for the 2023-2024 academic                                            year, and
                                   was assigned to the least desirable                                 Math Class available.   Even worse, Tracy was replaced                                                  non-
          alternatively                                                                                                                                                                                   by a
          tenured teacher,                namely             Alyssia      Tempera.




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          83.           Mr.         Herr       then         told     me that             I would             no    longer          be teaching                   the     ICT      geometry              class,     or any


          "Regents"
                                   math        class        for     that     matter,             akin        to which             I had         been       teaching             for   the    past       19 years,           and


                                                                                                                               room"                                                        "non-Regents"
          that    I would             alternatively                 be teaching                   4 "resource                               periods,              as well         as a


                                                   class.14
          special        geometry

                                                                          Room"
          84.            Notably,              "Resource                                       instruction           simply              provides           supplementary                    academic              support


                                                                "content-area"
          instruction               and      is not         a                                      class.


                                                                         Room"
          85.            Further,             "Resource                                    is a non-graded                       instructional               period            and      is comprised              of



          comparatively                      very      little      students.


                                                            "non-Regents"
          86.            Similarly,                 the                                          special          geometry               class          is also        comprised             of    comparatively


          very      little         students.


                                                                                                                                      Room"
          87.            Further,             an assignment                       to four          (4)     "Resource                                    periods,          as an overall                percentage            of



          a teacher's               employment                     schedule,              is highly            unusual.


          88.            I asked             Mr.      Herr                   he was                                this        change           and      he simply              repeated           -   again       in a
                                                                   why                           making


                                          - that          he was          "just                           things          up".
          sneering             way                                                      shaking


          89.            I further             inquired             of     Mr.      Herr          for    a rationale               for     his     decision,             but,     yet     again,        his      response


          was                         the     same         - that         he was           "just                           things          up".
                    simply                                                                               shaking


          90.                I then       expressed                to Mr.         Herr          that     I thought              that      his     action         was       retaliatory.


          91.                Mr.      Herr      then        responded                   with       an appalled                 look       on      his     face     and         said     "Justin,        I like     you".


          92.                I responded               by       stating          that     it was         very       unfortunate                   how       the        administration                  was     choosing

                 operate.15
          to




           14
             Teaching  four (4) Resoure                            Room          periods         is highly        unusual.         Also,        special     classes have a nominal                      amount         of
          students.
          is In June 2017 a district-wide
                                                                   survey was undertaken.  The overwhelming      conclusion  that emanated from the survey
          was that the school                  district         was suffering from very low morale, specifically   due to Mr. Herr's mis-management.




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          93.            Shortly           after       my meeting                  with         Mr.      Herr,         a colleague                  of mine,        namely                Christine            Minnear,


          who       is a guidance                  counselor              within          the     school          district,           called         me into         her         office       and       said       that      she



          had     noticed           a scheduling                  change           that     she        wanted           to     discuss          with        me.



          94.            Christine            asked          me if I knew                  what         was        happening                 with       my schedule,                  and        I said        that       I did.


                                                                                                                                                                                                           "Regents"
          95.            I then       told         Christine            what        Mr.         Herr      had         informed           me,         and      how        my        19 year          old


          assignment                was      now       being           taken        away          from        me,       and      moreover                  how      I was         now        being        effectively

          "side-lined"                                                                                                                                            "Regents"
                                     by    virtue          of     being        stripped           of     effectively                 teaching           any                                class,       or impacting


          students'
                              grades.


          96.            Christine              responded               to me by            telling         me that             such         re-assignment                   wasn't           actually           the


          worst       of it,        as the        administration                   had      actually             initially           planned           on     implementing                       an even         worse



          retaliatory          re-assignment.


          97.            Specifically,                 in this         regard,           Christine             told      me that           I could          not     tell      anyone,            but      that        the


          school         district         had       originally            planned               to transfer             me to an ICT                   English             and      Social          studies           class.


          98.             Notably,              I have          never        taught         English              or    Social          Studies          in my        life.


          99.            In    any        event,       upon         seeing          the     dramatic               change,             and      recognizing                 how           such      change            would



          undoubtfully                impart           negative            consequences,                       Christine              brought           her       concerns            to Mr.           Finn.


          100.           Christine              explained              how         she     had         discussed              with      Mr.         Finn      how        parents            would         likely            be



          calling        her    about           how        their       children's               educational                  instruction              was        being       negatively                impacted.


          101.            Christine             said       that     when           she     asked         Mr.          Finn     about          the      dramatic            change,            and       whether              it


                                                                                                                                                                  mistake."
          was       a mistake,             that      Mr.        Finn       simply          smiled          and         said      "no,        it's    not      a


           102.           Because            of her         continuing                concern,             Christine             then         told      me that            she then           went        to see Mr.


          Herr      to voice           her        concerns.




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          103.           Christine              told       me that         Mr.         Herr         told      her      that      it would              not     be an issue                     and     that     the     newly


          assigned            teacher           would            be capable                of    facilitating            differentiated                      instruction.


          104.           Further,            Christine             told     me that               Mr.        Herr       stated        that       he needed                 to break               me away              from         my


          co-teacher,               Tracy        Dimarco,              and           moreover,               that      he wanted                to separate                   both        of     us (Tracy             and     I)

                     "Regents"
          from                                instruction.



          105.           In     fact,       Tracy         would           also        face       retaliation             from         the       administration                       by        also     being         similarly


          stripped            of her        teaching             duties,         and        being          re-assigned                to what            is considered                     by         many         of my


          colleagues                to be the            least     desirable               teaching             class        available.


          106.           Worse,             Tracy          was      replaced               by       a non-tenured                   teacher,           who           the      administration                       could



          obviously             coerce          to play           proverbial                 "ball".


                                                                                                                                                                                                       rigid".16
          107.           Finally,            Christine             explained                 that      Mr.      Herr          had     told       her      that        "Justin             is too


          108.           As         Christine            appreciated                 the        obvious          problems               that      this        dramatic               change             would          impart,


          she     then        brought           her       concerns           to Ms.              Ambrosini.


          109.           As         Christine            explained           to me,               it was                     at this      juncture               -    in fact,            the                 next
                                                                                                                only                                                                              very                  day,


          wherein             the     scope         of    my      intended              staffing             change           was       revised              to be an assignment                              to four         (4)

                                    Room"                                             "non-Regents"
          "Resource                                 periods          and         a                                      geometry                 class,        as opposed                      to an ICT             English


          and     Social            Studies         class.


          110.           Incredulously,                     at this        time,           I also       learned          from          Christine              that         my replacement                          teacher


          would          be one          of the          teachers          who          had         been      actively              participating                    within          the        school        district's


          class      bi-furcation,                  segregation,                 modified               instructional                  rigor,       and        artificial             grade            inflation           strategy,


          namely          Cindy           Griffin.




          16
             By effectively   demoting    Tracy                           and I, the defendants  were clearly enacting retaliation upon us. Further, by
          replacing   us with teachers willing                             to cooperate with their plan, the defendants  were establishing the landscape                                                                          for
          the perpetuation   of their strategy.



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          111.         Based          upon       the     situation,          I, yet        again,         went         to my          Union          to express            my        concerns.


          112.         Yet      again        however,             I was      nevertheless                  told        that     the       school        district         has       all    the   power             and



          that    my claims             would          be difficult           to pursue.


          113.         At    this      point,      I told         my Union               that     I nevertheless                    wanted           to pursue            the      issue.


                                                                                                                                                                          specialist"
          114.         As      such,      my Union                offered          to have            me meet            with         a "labor          relation                                    after     the


          2022-2023             school          year     concluded.


          115.         While          I accepted            the     Union's           offer,          I also      asked            for     a meeting           with        Ms.           Ambrosini.



          116.         On June            16,     2023,         I met       with      Ms.        Ambrosini                and         discussed           my       concerns.


          117.         At      the    meeting,           I expressed               my concerns                    and     reiterated              how      wrong           the       school          district's


          actions      were.


          118.         I reminded               Ms.      Ambrosini                 how      the       school          district's            own       guest        speaker,              who     had        recently


          spoken       at our         "Superintendent's                      Conference                  Day",          had     emphasized                 how          critical          it was       to not        just


          pass      students         on      without        them        acquiring               the     pre-requisite                    skills      necessary           to have            success          in the



          ensuing          course.


          119.         I also        cited      the     New        York        State        Department                  of    Education                web-site           which            emphasizes                the


          importance             of how          rigorous           algebra          instruction                was      a necessary                 bridge        to     successful             geometry


          understanding.


          120.         Ms.       Ambrosini               remarkably                responded               by     asking            me why             I thought           grades            should         even


          matter       when          considering            passing           students            from          grade-to-grade.


           121.        Ms.       Ambrosini               also      asked       me why                 I felt    that      is was            better      to fail       students             rather       than        to


          hold      them       accountable               to passing            assessment                  standards.




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          122.            I explained             to Ms.           Ambrosini                 how       it was        essential            to challenge                students            to meet        the



          grade-level                content       standards                  and     to moreover               prepare           them        to pass          standardized                testing,



          particularly               so they       can         succeed              in the     next      sequential              math        course.



          123.            I further        explained                  to Ms.          Ambrosini              that     when          standards            are     reduced            for    students,           that



          several          negative            effects          can      be observed,               both        in the         immediate               context          and     over       the      longer       term;


          and       moreover,            that      the     impacts              can     be wide-spread,                       including             academic,            psychological,                  social,


          and       even       economic             effects.


          124.             Based        upon        my knowledge,                        the    negative            effects         of     reducing            educational                standards


          include:


          *
               Decreased               academic                rigor:         Lowering             standards             often         means         students           are     not       exposed         to as
          rigorous             and     challenging                 a curriculum,                   which        may         leave         them       unprepared               for       higher-level

          education              or professional                    work;


          *
               Skill     gaps:         Students           must           be held        to a high            standard            to graduate                 without          gaps        in fundamental

          skills,       whether           those          are     in reading,              mathematics,                   or    critical          thinking;


          * Decreased
                                       motivation:                 When         students           perceive           that       less      effort       is needed             to succeed,             they       may
          become            less      motivated                to put       in the       effort,       leading           to a culture               of complacency;


           *                     in education:
               Inequity                                          When          standards              are     reduced,            it can         exacebate              educational                inequities.
          Students             in environments                     with        high      standards              may       receive          a vastly          different          education              than      those
          with         lower       standards;


           *
               Inaccurate              self-assessment:                       Students          might          believe          they      perform            at an       optimal           level      when

          underperforming                       relative           to more             rigorous             standards.            This       misperception                    can       lead     to
          overconfidence                   in abilities                 and     challenges              later       when        faced        with        harder          tasks;


           *
               Economic               implications:                   If many          students         graduate               without           the    necessary              skills      to contribute               to
          the       workforce,            it can         have           long-term            implications             for       a community's                    or     nation's           economic

          health;


           *
               Higher          educational                challenges:                 Students          who         proceed             to higher            education              institutions             might
          need         help     with      the      increased               demands             and      expectations                   if they       come        from         a background                   where
          educational                 standards            were           lowered;




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          *                implications:                                                                                                             to societal                                         where
              Social                                        Lowering                  standards                might          also       lead                               implications,                                  the
          value        of a diploma                  or     degree             might          be diluted,              and        this       could       affect          how       employers,                institutions,
          or peers         view             educational                 achievements;


          *                                                                                                                      passionate               about          their      subjects           and         student
              De preciating                   teacher            morale:              Teachers                who      are
          growth          might         feel        constrained                  or     demotivated                   ifforced               to teach           to a lower            standard,              and        this

          could        lead         to decreased                 job         satisfaction               and         even        burnout;


          *                                                                                                                                               be particularly                  detrimental                    to
               Impact          on      high-achieving                        students:              Lowered             standards               can
          students          capable                of more            challenging                   work,        as such              students          may       feel      unchallenged                     or    bored,

          leading          to disengagement                            from          school          altogether,                 and


          *                                                                                                                              supposed                                                                   the        real
               Unprepared                   for     real-world                 challenges:                  Schools             are                             to prepare            students          for

          world,          and        part         of that        is teaching              resilience,                perseverance,                     and       problem-solving,                      and         students

          might         only         develop             these        essential           life       skills      if standards                  are      high.



          125.            I also        explained                to Ms.          Ambrosini                    how       the      school            district's           accelerated            math           program


          afforded             students             with        the     opportunity                  to retake             the     classes           if necessary,               and       thus      that         there        was


                 "rush"
          no                    to artificially                  pass         students.


          126.            I further               explained             to     Ms.       Ambrosini                  that      what        was        going         on     within        the        school          district


          was      disastrous,                 and       that     the        staff     was          suffering           from           low      morale           due      to a dynamic                 wherein                 much


          of the        staff        was       being        pressured                 to inflate              grades,           while        the      rest      of the      staff      was         feeling          the


          pressure             of    being          re-assigned                 for     not      doing          so.


          127.            Ms.         Ambrosini                  then        pivoted           her      commentary                      to talking              about      the      psychological                   harms


          impacted              upon          students            when           they       fail.


          128.            In        response,             I then        brought           up        a story           to Ms.           Ambrosini                regarding            one      of     my past


          students             who          had     been         segregated               due         to her         struggles,              and      how        she      had       relayed         to me how                    she


          passed          the        class,        but     how         she      really        didn't.


           129.           I then            asked         Ms.      Ambrosini                  about           how       that      dynamic               and       realization           impacted                  the     student


          psychologically.


           130.           Ms.         Ambrosini                  had      no         answer          to my          question             and       so she just            stared        blankly              at me.




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          131.           I also      asked        Ms.     Ambrosini                     who       made       the       decisions              regarding                 staffing           assignments.


          132.           Towards           this    end,        Ms.iAmbrosini                           responded             by     stating         that     Mr.          Herr       and        Superintendent



          Probst         were      responsible               for     making             those          decisions.



          133.           Shortly        thereafter,                the     meeting             that     my Union              had         scheduled               with       the     labor          specialist



          occurred.


          134.           At     such    meeting,              the        labor      specialist            informed                me that          the      Union           was       there         to    support          me,


          but     that    my       complaint            was         going         to be difficult                to prove.


          135.           Based         upon       the     foregoing,                I reached             out    to      Suzanne             Mensch               (President               of    the      Board      of



          Education)              to discuss            my     concerns.


          136.           I told      Ms.      Mensch               that     I wanted              to    speak         privately             with      the    Board            of     Education.



          137.           I further         told    Ms.        Mensch                that       I had      a statement                that     I was         prepared               to read,          and      that     I


          would          be happy          to read        it to her.


          138.           Ms.       Mensch          said       ok,         and     so I did.


          139.           After       hearing        my         statement,                Ms.       Mensch             said        that      she    did      not     know            that        much         of what        I


          was      explaining              was    occurring,                 and        that     she     would          need         to     speak         with      the      school             district's


          counsel          about       my request                  to meet          with         the     Board         of    Education,               but        that      she      would           get      back    to


          me.


          140.            Eventually,             Ms.        Mensch               did      get    back      to me,           and         stated      that        while        she     would


          accommodate                  a closed           meeting                with      the     Board         of     Education,                 that     Superintendent                        Probst        would


          also     need         to be present.


          141.            My      appearance              before            the     Board             of Education                 was       scheduled              for      July      11,       2023.




          17
                Superintendent          Probst      was hired              during       Ms. Mensch's             tenure       as President                of the Board             of Education.



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                                                                                                                                                                                                         -
          142.          I attended               the     meeting              with       my fiancée                   and         the      Vice        President             of    my Union                    Michael



          Amy.


          143.          At      the      meeting,             I read         my prepared                      statement,                  which           reiterated         all     of     my concerns                    about



          what      was        happening                within         the      school           district.


          144.          After           I finished            speaking,               Ms.       Mensch                said          "thank           you     for     sharing".


                                                                                                                                                                                                                             cuff"
          145.          At      that      point,         Superintendent                       Probst            responded                  that       she     was        going       to "speak               off     the



          about        my concerns.


          146.          After           saying          as much              however,             Ms.          Probst             then       began          regurgitating                  an obviously


          prepared             statement           that        was       clearly            anything             but         "off        the      cuff",       replete        with          reciting         alleged



          numerical             statistics             regarding             how        failing           algebra              students              led     to    students          suffering            from


          psychological                  issues,         receding              graduation                 rates,         and         future          incarceration                 rates.


          147.                                          at no         time      however                 did      Superintendent                        Probst                      or contest            that        class         bi-
                        Remarkably,                                                                                                                                    deny


          furcation,            segregation,                  modified               instructional                   rigor          and      artificial            grade      inflation           was        occurring.


          148.          In      any      event,         I would              note      that       all     of     Superintendent                        Probst's            foundational                 arguments                  are


          not     actually            supported            by      the       relevant           scientific               studies               attendant            to the        effects       of     lowering


          educational                 standards.


          149.          In      fact,      based         upon          my knowledge,                           the    scientific                research            runs     opposite            to her            claims,



          including             the     following              relevant              studies:


          *
              Decreased                 academic              rigor          and      skill     gaps:            The         National                Mathematics                  Advisory             Panel         (2008)
          indicated            that      a rigorous               high;school                   curriculum                   predicts              success           in college              mathematics,                    and
          that     a less        rigorous              curriculum                  could        create           skill        gaps         that       hinder         success           in advanced                   studies;


          *                                                                                                                                                                               students'
              Decreased                 motivation:               C.S.        Dweck's              research                  on      mindset           highlights             that                             beliefs
          about        their      abilities             can      shape         their          motivation                 and         achievement                   and     that       lower          standards

          inadvertently                 promotes               a fixed         mindset,                 reducing              effort           and     motivation.                 (See:       "Mindset:               The         new

          psychology               of success",                  Psychology                   Journal,               Vol.         7, No.          9, 2016,          Random                House);




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          *
              Inequity          in Education:                      A report          by      The       Education              Trust            (2013)           found           that      schools              with       high

          concentrations                     of low-income                     and    minority               students             often        have        less        rigorous              curricula,

          contributing                to achievement                       gaps;


          *                                                                    The                                                                    documented                       in numerous
              Inaccurate               self-assessment:                                  "Dunning-Kruger                           Effect",                                                                           studies,
          suggests            that        individuals               with       low    ability           at a task           often         overestimate                    their         ability         and       that

          lowering            standards                  might         exacerbate              this      effect;


          * Economic                  implications:                    The                         for        International                 Student              Assessment
                                                                                Program                                                                                                         (PISA)          regularly
          assesses           the      skills        of     15-year-olds               in various                countries,               and      the      countries                  with      lower

         performance                   on       these        assessments                  often       see      a connection                   between             their         scores            and         economic

          outcomes;


          * Higher            education                   challenges:              D.T.                              research             emphasizes                   that       rigorous              high          school
                                                                                               Conley's
          standards             better            prepare           students         for       the       demands             of college.                (See:          Redefining                 college             readiness.
          Educational                 Policy             Improvement                 Center);


          *                                                        Morale:                                            research                                                           that
               Deoreciating                     Teacher                              R. Ingersoll's                                         (2001)          has        shown                       a lack           of
          professional                 autonomy                  and       decision-making                     power          can         contribute               to teacher                 turn-over,                 which
          curricular                and      standard               decisions            can      influence               (See:      Teacher               Turnover               and         Teacher             Shortages:
          An      Organizational                      Analysis");


          *
               Impact         on      high         -achieving                students:            The        National         Association                   for        Gifted           Children               (NAGC)
         fi-equently             emphasizes                   the      importance                 of challenging                    curricula             for      high-achieving                        students              to
          prevent        underachievement                               and      ensured              continued             growth;


          * Unprepared                      for     real-world                 challenges:               Act     (2006)            report         highlighted                   the      disconnect                   between
          high      school           and          college/work                 readiness,              suggesting                 that      many         students               need         to be adequately
          prepared            for         hfe      after     high-school                  when         standards             aren't            aligned            with        post-secondary                          demands.
          (See:        The      Forgotten                  Middle          -                          that     All      Students            Are       on        Target          for      College              and        Career
                                                                               Ensuring
          Readiness                 before          High         School).


          150.           In     any        event,          after       Superintendent                    Probst           finished             speaking,               I felt         compelled                to offer          a


                                                  cuff"
          genuine            "off      the                    assessment              of her           comments,                  and      so I relayed                  to the          Board           of    Education             a



          story      involving                  a former            student          of mine            that     I had       just         recently          encountered                      at the       beach.


           151.          In this           regard,           I explained              to the          Board          of    Education               that         this     was          a student           who            had


          struggled             in my             class,      but      that     I had       nevertheless                   continued              to challenge.




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          152.            I recounted                to the         Board              of Education                that        when       I saw          him         how      we celebrated             not      only


          the     fact     of how             he had         worked               hard      and        passed           the     class,       but     moreover                how       he went         on     to pass


                  "Regents"                                   well.18
          the                             exam          as


          153.            I told        the     Board          of     Education                  of how           both         the    student         and       his    parents          had    smiled          and



          celebrated              in knowing                 that      he had             genuinely               achieved             something.



          154.            After         telling         my        story      to the         Board            of   Education,                 I indicated              that     I had     nothing            further         to



          say,     other        than       to request               that         the     Board          of     Education              undertake                an investigation                regarding              the



          legitimacy               of my          concerns.



          155.            I then         left     the    meeting.


          156.            Subsequently,                      on     July         12,     2023,         I received               an email           from         Superintendent                 Probst         which


          stated         that     she      was       hoping           to follow                 up     upon       our      discussion               at the        Board         of    Education             meeting.



          157.            Upon           believing             that        Superintendent                      Probst           may      have        actually              decided       to take        action         upon



          what         was      occurring               within         the        school          district,         I accepted               her     invitation.


          158.            Accordingly,                   we        met       on        August           2, 2023.


          159.            At      the     meeting             however,                  Superintendent                    Probst         did       not      address           any     of my       concerns,            but


          rather         stated         to me that             she        was          simply          there      to listen           to anything               additional             that    I had        to say.


          160.            As       such,        I expressed                 to     Superintendent                       Probst        that       I was         not    there         to discuss       whether            or


          not      the     school          district's             actions          were          wrong;           but     rather,         that      I was        there        to obtain          a status        update



          regarding             the      investigation                    that     I had          requested.


           161.            I told        Superintendent                      Probst             that    I really          didn't         want       to re-argue               the     merits      of my



          concerns,             as I knew               what          was        occurring              within           the     school          district        was         wrong.




           18
                The point         is that without             rigorous            instruction, although   a student                       may be able to pass a class via being                              afforded
          artificial       grade        inflation,       he/she        could        not however    pass a "Regents                        Exam".



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          162.           Superintendent                  Probst          then      commented                 that     she        did     not      envision         that      the     school          district's


                                                                                                          year.19
          practices         would            need      to be continued                   the    next


          163.           I then       expressed              to    Superintendent                 Probst           that      while        that       was      a good        thing,         that     the     school



          district's        retaliatory             treatment            of     me nevertheless                     needed         to be addressed.


          164.           In this       regard,         Superintendent                    Probst         then        stated       that      my re-assignment                        was      simply


          routine         practice.


          165.           I then       asked         Superintendent                   Probst          if there        was      any        update        upon        the     investigation                  that     I



          had     requested.



          166.            Superintendent                    Probst       responded              by     stating        that       there         was    not,      and       moreover            that        there



          would         be no        further         investigation                from      her       or the        Board         of     Education.


          167.            In order           to confirm            the    validity         of     Superintendent                       Probst's        statements,                I then      reached             out


          to Ms.         Mensch             on   August            3, 2023.


          168.            Ms.       Mensch           responded             that      Superintendent                   Probst            was       correct       and       that     there      would          be no


          further         investigation.


                                                              defendants'
          169.            As     a result        of the                                  actions,         I have          been         suffering            significant            emotional,


          physical,            and     psychological                 trauma.


                                                                               defendants'
          170.            As     a further          result        of the                                actions,           I have          now       begun        therapy.


          171.            I have       spent         over         19 years        working             diligently            on     my profession,                  so that          I could         be the


          most         effective        math         teacher         as possible,               and     to impart            the       most        benefit        as possible              upon       my


          students          and       my community                    at-large.


           172.           Over        the     years,        my      students         have        routinely            scored            relatively           superior            on their         respective


          "Regents"
                                   scores,       as compared                  to other         students          within          Westhampton.




           19 I
                  again was shocked                 that there was absolutely                   no denial        regarding           what      was happening              within     the school           district.



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                                                                                                                                                                           "100"                        "Regents"
          173.             In     fact,      in 2021-2022                       four         (4)    of my         and        Tracy's       students          scored                       on     the



          exam        -     a feat         that      I've         never         heard          of                  accomplished                before.
                                                                                                     being


          174.             I would            like       to think              that        so many           of    my        students        and    their      families          have          appreciated            my


          efforts,         as they            have           pursued            my tutoring                  services           independently.



          175.             The        actions            undertaken                   by      the     defendants                haven't      just     hurt     me - they              have       hurt    our



          students              and       their      families,             my colleagues,                         my profession                at-large,        and      our     entire         community.



          176.             Since           I filed         my Notice                  of     Claim,          I have          continued          to receive            slights      from         the


          administration.


          177.             I am not               the      only      person             to     suffer        retaliation            from     the      administration               and         I have     since


                                                                                                         instances.2°
          learned           that       my Union                   is aware             of     other


                             1³'
                                      Cause          of Action:                 Violation               of New          York       Labor       Law,         Section        740     (Retaliation)


          178.             I re-assert               the      statements                   set forth         within           paragraphs            1-177       herein.


          179.             New            York's             Labor        Law,             Section          740     protects           employees             against        retaliation            committed              by


          their      employers.


          180.             As      indicated                 herein,           I voiced             my      objections             regarding          the     illegal      and/or          wrongful             conduct


          that       was        being         committed                   by     the        defendants.


                                                        defendants'                                                                                                                        defendants'
          181.             Again,            the                                      actions         were         illegal        and/or       wrongful          because           the


          conduct               violated           the       Individuals                   With       Disabilities               Education          Act,       Section          504       of the


                                                                                                                                             defendants'
          Rehabilitation                     Act        of     1973,           42     USC           1983,      as well           as the                               collective           obligation            to


          honor           their       fiduciary               and      professional                   obligation              to teach        students         grade-level               content         standards


          evaluated                against           appropriate                    state      assessment               criteria.




          20
               Carrie       Bender,          who        is a Union         representative                   and teacher,           has requested            to be deposed             for purposes         of
                                                        defendants'
          shedding           light      on the                                  treatment             of me and others.




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          182.            As     a result        of     my objections,                     the     defendants                retaliated          against         me by changing                    my job


          assignment,              and      placing          me within                   a setting         wherein             I could         no     longer       affect       the    instruction                or



          grading          of    my students.


          183.            In addition,             the     defendants                have         continued              their        acts     of retaliation             against         me,     since       I



          filed         my Notice           of    Claim          in other           ways.


          184.            Moreover,              by      effectuating               my re-assignment,                           the     defendants              positioned            themselves              to



          perpetuate             their      wrongful             conduct             in the        future           unimpeded.


                                                                                           defendants'
          185.            I respectfully                submit        that         the                                actions           have         been      pre-meditated,                malicious,                and



          self-serving.


                  2nd     Cause          of Action:            Violation             of the            Americans               With       Disabilities            Act     (Interference                and/or

                                                                                                         Retaliation)


          186.            I re-assert            the     statements            set forth               within         paragraphs               1-185.


          187.            The      ADA           protects         people            who          are    retaliated             against         for    advocating             for    the      rights      of the


          disabled.


                                                                                                                                      defendants'
          188.            Inter-alia,            I voiced         my objections                        regarding             the                               strategy       of    class       bifurcation,


          segregation,               modified             instructional                  vigor,         and     artificial            grade      inflation         because            such       strategies



          directly         undermine               the      rights      of    disabled                 students          not       to be discriminated                    against,         and        to be


                                                                                                                      ambitious"
          treated         equally,          and        to receive          an "appropriately                                                   free      and     appropriate              education


          (FAPE).


                                   defendants'
           189.            The                               actions          were          self-serving,                but       moreover             were       implemented                  at the    direct


          expense           of the        students           who      were           segregated.


                                                                                                                                                       defendants'
           190.            I was        retaliated          against          for     voicing             my     objections               to the                               conduct.


                  3rd     Cause       of Action:             Violation              of Section                504     of the        Rehabilitation                Act     of 1973            (Interference
                                                                                                  and/or        Retaliation)




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          191.         I re-assert            the       statements                 set forth             within             paragraphs            1-190.



          192.         Section            504       of the         Rehabilitation                     Act         of    1973          protects         people        who      are     retaliated         against



          for     advocating            for      the     rights         of the           disabled.


                                                                                                                                        defendants'
          193.         Inter-alia,            I voiced             my        objections                  regarding              the                             strategy        of     class       bifurcation,



          segregation,            modified               instructional                   vigor,           and      artificial           grade      inflation           because          such       strategies



          directly       undermined                    the     rights        of        the   disabled              students             in my      class        to receive           an "appropriately


          ambitious"
                                free      and         appropriate                 education                (FAPE).


                                 defendants'
          194.         The                                    actions          were           self-serving,                   but      moreover            were       effectuated           at the       direct


                                                                                    students'
          expense        of many              of my           disabled                                     rights            to a FAPE.


                                                                                                                                                         defendants'
          195.          I was        retaliated              against          for       voicing            my objections                    to the                              conduct.



                         Cause                                                                                                                           Municipal                      - Section             51
                                        of Action:              Municipal                    Tax     Payer             Action,          General                               Law


          196.          I re-assert             the     statements                  set forth            within             paragraphs            1-195         herein.



          197.          As      a resident             tax      payer,         my local               taxes            are    largely        allocated           towards         supporting             the


          defendant            school         district's              operations.


          198.          By      extension,              my taxes              are        largely           apportioned                  towards          supporting            the     academic              welfare


          of the      students           within          the       defendant                 school         district.


           199.         By      further          extension,                 my taxes               are     largely            apportioned               towards           ensuring        that      future


          generations            of     students             are      able        to     succeed            and         impact          society         at-large        in a successful               and


          competitive             way.


          200.          Additionally,                   because             the        performance                     of    school        districts        is largely         linked          to the      value         of


          its     surrounding             real        estate,         the    performance                     of the           defendant            school          district     largely          impacts           the


          value       of the      real        estate         within          the       community                   of tax        payer's          at-large.




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          201.            I respectfully                 submit            that      the     actions          undertaken                by      the      defendants              undermines                  the         value



          of the         education             being         provided               by     the    defendant               school            district,         and      thus     by      extension             the        value


          of    real     estate        within          the        tax    payer          community               at-large.



          202.            I respectfully                 submit            that      the     actions          undertaken                by      the      defendants              undermines                  the         value



          of     the     education             being         received              by     the     students           within          the       community                 at-large,         and        thus        by


          extension,             the    welfare              of     society          at-large.


                                                                                   5thCause            of Action:               42     USC           1983


          203.            I re-assert           the      statements                  set forth         within         paragraphs                     1-202       herein.


          204.            As      a United             States           Citizen,           I am entitled              to the         constitutional                    protections            of free             speech


          and      due      process.



          205.            The      defendants                 all       profile          as acting        under           the     color         of      government               because              Westhampton


          is a public             school         district           and       the       individually                named         defendants                  are      school         officials         therein.


          206.            By      asserting            my         concerns               regarding            the    class        bifurcation,                 segregation,               modified


          instructional                vigor       and        artificial            grade         inflation          that       was         occurring            within         the     defendant                 school



          district,        I was        engaging                  in protected               speech.


                                                                                                                                                                defendants'
          207.             Specifically,                in this          regard,           I was       speaking             out      against            the                               practices               that     were


          of     clear     and       significant               public             concern.


          208.             The     defendants                  retaliated               against        me for         engaging                 in    such       protected             speech.


          209.             Further,        the      defendants                     retaliated          against         me without                    affording            me any           legitimate                due


          process          or explanation.


                                                                        defendants'
          210.             The     reason          for       the                                  retaliation             was        that      my       concerns              undermined               the


          defendants'                                                                                                                                                                             students'
                                    wrongful                 strategy             to artificially             increase            graduation                  rates,      grades,         and


          involvement                  within          AP classes,                  and      to moreover                portray              the     defendant             school          district          in    an




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          artificially          positive       light,         as well       as to     insulate           the      school        district       officials            from      negative         job


          assessments.


                                                                        defendants'
          211.           Another           reason       for     the                            retaliation              was      to chill       further            dissent        from     myself,           as



          well      as from        the     Westhampton                  teaching           staff    at-large.


                                                                                                                                                           defendants'
                         WHEREFORE,                           I respectfully              request        the        Court       to affirm        the                                 collective


          violations          of New          York's           Labor        Law       - Section                       the    Americans             With            Disabilities          Act
                                                                                                          740,                                                                                     (ADA),


          Section         504      of the     Rehabilitation                 Act      of    1973                       General          Municipal             Law          - Section                 and     42
                                                                                                         (504),                                                                             51,


          USC        1983       (1983),       and       thus      to award          all     applicable               compensatory               and        punitive.         damages              to be



          subsequently              determined,                as well       as to issue            any        other        equitable         relief       that      the     Court       deems        just


          and     proper.




          Dated:         Westhampton                Beach,            New      York
                         December             19,   2023


                                                                                                    x.          /
                                                                                                                       Justin      Mattera,            Plaintiff




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                                                                         VERIFICATION



          STATE        OF    NEW YORK                      )
                                                           ) ss:
          COUNTY            OF    SUFFOLK                  )




                       JUSTIN         MATTERA,           Plaintiff      herein   being        duly     sworn,       deposes      and       says    that   he    has   read   the


          foregoing         COMPLAINT;              deponent         knows   its content        and    knows        that   it is true      to the     best     of deponent's


          knowledge,         except        as to those    matters       stated   to be upon           information          and   belief,     and     as to those       matters


          deponent       believes         them   to be true.




                                                                                   JIlSTIN            MATTERA




              h
          Sworn       to before      me this
          1             of D                er 19, 202




          NOTA                      LIC

                                     ANDREA SIC!!JANÒ
                              NOTARY PUBLIC, STArE OF NEW YORK
                                  Registration No. 01S16044574
                                   Oualified in Suffolk County
                                Commission Expires July 10, 20




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